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         2021.06.16 WBTW Article
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                                                         GRAND STRAND

                                                         15 pro athletes from the Myrtle Beach area
                                                         by: Braley Dodson
                                                         Posted: Jun 16, 2021 / 01:10 PM EDT
                                                         Updated: Jun 16, 2021 / 01:10 PM EDT




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                                                           Dozens of athletes have traded in their flip flops for cleats, moving beyond the Grand Strand to professional leagues.
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                                                           Among those are football and basketball players, along with dancers and surfers.
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                     5                                     Here are 15 professional athletes with ties to the Myrtle Beach area, presented in no particular order:
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                     5                                     1. Darius Leonard

                                                           Sport: Football

                                                           Leonard, who attended Lake View High School, is now a linebacker for the Indianapolis Colts. In March, he and his wife, Kayla, created
                                                           the Maniac Foundation to help improve children’s health and get them involved in math. The foundation targets families in Indianapolis
                                                           and Lake View.

                                                             Former Lake View High grad, Colts linebacker Darius Leonard launches foundation to help children’s
                                                             health, get them involved in math

                                                           Leonard also played for South Carolina State University. He was named the MEAC defensive player of the year in 2016 and 2017,
                                                           received a First-Team All-Pro selection in 2018 and 2020 and was a Second-Team All-Pro selection in 2019.

                                                           2. Jordan Lyles

                                                           Sport: Baseball

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                                                                                                            Case 2:21-cv-01412-ART-EJY                               Document 437-20                    Filed 01/06/25   Page 3 of 4
                                                           The Hartsville High School graduate is currently is a pitcher for the Texas Rangers. He previously played for the Houston Astros, Colorado
                                                           Rockies, San Diego Padres, Pittsburgh Pirates and the Milwaukee Brewers.

                                                           3. Dusty Button

                                                           Sport: Ballet

                                                           Button was born in Myrtle Beach before moving to New York City at the age of 16 to train at the Jacqueline Kennedy Onassis School of
                                                           American Ballet Theatre. She went on to train at the Royal Ballet School in London and join the Birmingham Royal Ballet. She became
                                                           Red Bull’s first ballet athlete and has performed with groups such as the American Ballet Theatre, The Mongolian National Ballet and
                                                           Broadway Underground.

                                                           4. Hunter Renfrow

                                                           Sport: Football

                                                           The Socastee High School graduate played for Clemson University before going on to become a wide receiver for the Las Vegas Raiders.
                                                           He was a two-time national champion at Clemson and played for the Oakland Raiders. He’s held youth football camps at Socastee High
                                                           School.

                                                           5. Ramon Sessions

                                                           Sport: Basketball

                                                           Sessions was born in Myrtle Beach. The former professional basketball player has played for teams such as the Milwaukee Bucks,
                                                           Washington Wizards, New York Knicks and Sacramento Kings.

                                                           He’s spent more than a decade holding an annual basketball camp in the Grand Strand. He was first drafted in 2007 and remained in the
                                                           NBA for more than a decade.

                                                           6. Cam Richards

                                                           Sport: Surfing

                                                           Richards, a pro surfer, is from Pawleys Island. Videos of him riding waves can be seen on his Instagram, which has more than 37,000
                                                           followers.

                                                           7. Bryan Edwards

                                                           Sport: Football

                                                           The Conway High School graduate recently began his career as a wide receiver with the Las Vegas Raiders. He was selected by the
                                                           team in the third round of the 2020 NFL Draft.

                                                           8. Levon Kirkland

                                                           Sport: Football

                                                           The retired NFL player was born in Lamar. Kirkland played for Clemson University before continuing as a linebacker for the Pittsburgh
                                                           Steelers, the Seattle Seahawks and the Philadelphia Eagles.

                                                           9. Kristy McPherson

                                                           Sport: Golf

                                                           McPherson, who is from Conway, currently plays on the LPGA Tour. She appeared the Golf Channel’s “Big Break” in 2006.

                                                           10. John Abraham

                                                           Sport: Football

                                                           The retired NFL player graduated from Lamar High School. The defensive end played for teams such as the Atlanta Falcons and the New
                                                           York Jets.

                                                           11. Clint Newton

                                                           Sport: Rugby

                                                           Newton, a retired rugby player, was born in Myrtle Beach. He’s played for teams such as the Newcastle Knights, Melbourne Storm and
                                                           Penrith Panthers. He represented the U.S. in the 2013 Rugby League World Cup campaign. His sister, Kristie Newton, is a professional
                                                           golfer.

                                                           12. Brandon Frye

                                                           Sport: Football



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                                                                                                                     Case 2:21-cv-01412-ART-EJY
                                                           Frye, a retired offensive tackle, was born in Myrtle Beach. He played for the Houston Texans, the Miami Dolphins and the Seattle                       Document 437-20                   Filed 01/06/25   Page 4 of 4
                                                           Seahawks.

                                                           13. Everett Golson

                                                           Sport: Football

                                                           Golson, a former CFL player, was born in Myrtle Beach. He played for Notre Dame before transferring to Florida State.

                                                           14. Tarron Jackson

                                                           Sport: Football

                                                           Jackson, who played for Coastal Carolina University, was drafted to the Philadelphia Eagles this year. The defensive end graduated in
                                                           2020 with a bachelor’s degree in mathematics.

                                                             Eagles select Coastal Carolina’s Tarron Jackson at pick No. 191

                                                           15. Dustin Johnson

                                                           Sport: Golf

                                                           Johnson, a PGA Tour player, attended Coastal Carolina University. He won $15 million in the FedEx Cup and has chosen not to attempt
                                                           to qualify for the 2020 Tokyo Olympics.

                                                             Former CCU golfer Dustin Johnson awarded “Order of the Palmetto” at Palmetto Championship

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